    2:22-cv-01307-RMG       Date Filed 04/20/23    Entry Number 112      Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH CAROLINA
                            CHARLESTON DIVISION


Nautilus Insurance Company,            )        C/A No.: 2:22-cv-1307
                                       )
Plaintiff (s),                         )            THIRD AMENDED
                                       )          SCHEDULING ORDER
v.                                     )
                                       )        Judge Richard Mark Gergel
Richard Alexander Murdaugh, Sr, et al. )
                                       )
Defendant (s).                         )
____________________________________



         1. Mediation: The deadline for mediation is December 28, 2023.


         2.   Amendment of Pleadings: Motions to join other parties and amend the
              pleadings shall be filed no later than July 28, 2023.

         3. Expert Witnesses: Parties shall file and serve a document identifying by full
            name, address, and telephone number each person whom they expect to call
            as an expert at trial and certifying that a written report prepared and signed
            by the expert including all information required by Fed. R. Civ. P. 26(a)(2)(B)
            has been disclosed to the parties by the following dates:
                   Plaintiff:     September 29, 2023
                   Defendant: October 30, 2023

         4. Records Custodian Witnesses: Counsel shall file and serve affidavits of
            records custodian witnesses proposed to be presented by affidavit at trial
            no later than November 6, 2023. Objections to such affidavits must be
            made within fourteen (14) days after the service of the disclosure. (See
            Fed. R. Evid. 803(6), 902(11), or 902(12) and Local Civil Rule
            16.02(D)(3)).

         5. Discovery: Discovery shall be completed no later than November 28,
            2023. All discovery requests shall be served in time for the responses
            thereto to be served by this deadline. De bene esse depositions must be
            completed by discovery deadline. No motions relating to discovery shall be
            filed until counsel have consulted and attempted to resolve the matter as
            required by Local Civil Rule 7.02.

         6. Motions in Limine: Motions in limine must be filed no sooner than fifteen
            (15) days and no later than (10) days prior to jury selection.
    2:22-cv-01307-RMG        Date Filed 04/20/23    Entry Number 112       Page 2 of 2



         7. Dispositive Motions and Daubert Motions: All dispositive motions and
            Daubert motions shall be filed on or before December 11, 2023.

         8. Pretrial Disclosures: No later than twenty-one (21) business days prior
            to jury selection, the parties shall file and exchange Fed. R. Civ. P.
            26(a)(3) pretrial disclosures. Within fourteen (14) days thereafter, a party
            shall file and exchange Fed. R. Civ. P. 26(a)(3) objections, any objections
            to use of a deposition designated by another party and any deposition
            counter-designations under Fed. R. Civ. P. 32(a)(4).

         9. Pretrial Briefs: Parties shall furnish the Court and serve pretrial briefs five
            (5) business days prior to the date set for jury selection (Local Civil
            Rule 26.05). Attorneys shall meet at least five (5) business days prior to
            the date set for submission of pretrial briefs for the purpose of exchanging
            and marking all exhibits. See Local Civil Rule 26.07.

         10. Trial: This case is subject to being called for jury selection and/or trial on
             or after April 1, 2024.




April 20, 2023                                          s/ Richard Mark Gergel
Charleston, South Carolina                              United States District Judge
